  Case 6:21-cv-01246-ADA-DTG Document 58 Filed 06/21/23 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT

                            FOR THE WESTERN DISTRICT OF TEXAS

                                        WACO DIVISION




VOIP-PAL.COM, INC.

               Plaintiff,                         CIVIL ACTION NO. 6:21-cv-1246-ADA-DTG

       v.

SAMSUNG ELECTRONICS CO., LTD.,
SAMSUNG ELECTRONICS AMERICA,
INC., and SAMSUNG AUSTIN
SEMICONDUCTOR, LLC,


               Defendants.



                  JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and 41(c), Plaintiff VoIP-Pal.com, Inc. (“VoIP-Pal”)

and Defendants Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

Austin Semiconductor, LLC (collectively, “Samsung”) hereby stipulate to dismissal of all claims by

VoIP-Pal with prejudice and dismissal of all counterclaims by Samsung without prejudice as moot,

with each party to bear its own costs, expenses, and attorneys’ fees.




                                                  1
   Case 6:21-cv-01246-ADA-DTG Document 58 Filed 06/21/23 Page 2 of 3




Dated: June 21, 2023                Respectfully submitted,

  /s/ Lewis E. Hudnell, III            /s/ Neil P. Sirota (with permission)

  Lewis E. Hudnell, III                Neil P. Sirota (admitted pro hac vice)
  lewis@hudnelllaw.com                 neil.sirota@bakerbotts.com
  Nicolas S. Gikkas                    Joshua M. Friedman (admitted pro hac vice)
  nick@gikkaslaw.com                   joshua.friedman@bakerbotts.com
  Hudnell Law Group P.C.               BAKER BOTTS L.L.P
  800 W. El Camino Real Suite 180      30 Rockefeller Plaza
  Mountain View, California 94040      New York, NY 10112-4498
  T: 650.564.3698                      Phone: (212) 408-2500
                                       Fax: (212) 408-2501
  ATTORNEYS FOR PLAINTIFF
  VOIP-PAL.COM, INC.                   Morgan Mayne
                                       morgan.mayne@bakerbotts.com
                                       State Bar No. 24084387
                                       BAKER BOTTS L.L.P.
                                       2001 Ross Ave Suite 900
                                       Dallas, TX 75201
                                       Tel.: (214) 953-6500
                                       Fax: (214) 661-6500

                                       ATTORNEYS FOR DEFENDANTS
                                       SAMSUNG ELECTRONICS CO., LTD.,
                                       SAMSUNG ELECTRONICS AMERICA,
                                       AND SAMSUNG AUSTIN
                                       SEMICONDUCTOR LLC




                                       2
   Case 6:21-cv-01246-ADA-DTG Document 58 Filed 06/21/23 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that all counsel of record who are deemed to have consented to

electronic service are being served with a copy of the forgoing JOINT STIPULATION OF

DISMISSAL OF ALL CLAIMS via the Court’s CM/ECF system pursuant to the Federal Rules of Civil

Procedure and Local Rule CV-5(b)(1) this 21st day of June, 2023.

                                       By: /s/Lewis E. Hudnell, III
                                          Lewis E. Hudnell, III
                                          lewis@hudnelllaw.com
                                          Hudnell Law Group P.C.
                                          800 W. El Camino Real Suite 180
                                          Mountain View, California 94040
                                          T: 650.564.3698
                                          F: 347.772.3034




                                                3
